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                    EXHIBIT J
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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

KATHLEEN MOLLER                                *   CIVIL ACTION NO. 24-0228-WBV-DPC
                                               *
VERSUS                                         *   JUDGE WENDY B. VITTER
                                               *
MARTIAN SALES, INC; JOPEN, LLC, a              *   MAGISTRATE      DONNA      PHILLIPS
Texas      limited      liability   company;   *   CURRAULT
JOHNSON FOODS, LLC, a Wyoming                  *
limited liability company; LP IND., LLC,       *
a Wyoming limited liability company;           *
CAG HOLDINGS, LLC, a Wyoming                   *
limited      liability     company;    RMH     *
HOLDINGS,            INC.,      a   Wyoming    *
corporation;          ABC        INSURANCE     *
COMPANY and John Does 1-4.                     *
************************                       *

      THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
                    TO DEFENDANT, JOPEN, LLC

TO:          JOPEN, LLC, Defendant

      In accordance with FRCP 34, you are required to answer separately each of

the following requests for production and produce such documents for inspection

and copying on or before 30 days from the date of service of these requests at the

offices of mctlaw, 1515 Ringling Blvd., Suite 700, Sarasota, FL 34236.

      Any objection must state whether any responsive materials are being

withheld on the basis of the asserted objection. An objection to part of a request

must specify the part and permit inspection of the rest. Any electronically stored

information must be produced in accordance with FRCP 34(E).


                                     DEFINITIONS

      1.     The word “documents” shall be construed in the broadest sense

allowable under the rules of civil procedure and other applicable law. “Documents”

includes electronically stored information, including writings, drawings, graphs,
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charts, photos, audio and video recordings, images, data or data compilations, emails,

text messages, social media postings, website postings, calendars and calendar

entries, meeting notices, handwritten notes, voice messages, diaries or journals,

photographs, and all drafts.

         2.    “Defendant” means JOPEN, LLC, its accountants, investigators, agents,

representatives, employees, and all persons acting or purporting to act on its behalf.

         3.    The terms in these requests should be interpreted in accordance with

their ordinary and customary meanings and the context of this case, using common

sense.
                         REQUESTS FOR PRODUCTION

         REQUEST NO. 1: Produce all organizational charts or documents that

describe or identify the organizational structure of JOPEN, LLC, including all

affiliates, subsidiaries, or parent companies of JOPEN, LLC.

         REQUEST NO. 2: Produce all documents that describe or identify the owners

of JOPEN, LLC, from formation to present.

         REQUEST NO. 3: Produce all documents that describe or identify the

ownership percentages of all owners of JOPEN, LLC, from formation to present.

         REQUEST NO. 4: Produce all documents that describe or identify the owners

of all affiliates, subsidiaries, or parent companies of JOPEN, LLC.

         REQUEST NO. 5: Produce all balance sheets and income statements for

JOPEN, LLC from formation to present.

         REQUEST NO. 6: Produce all U.S. Federal Income Tax Returns for JOPEN,

LLC from formation to present.

         REQUEST NO. 7: Produce all documents relied upon, referenced, or
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otherwise reviewed in responding to Plaintiff’s Third Set of Interrogatories to

JOPEN, LLC.


Date: December 17, 2024
                                       Respectfully submitted,


                                    By: /s/ Michael Cowgill
                                       Michael J. Cowgill (FL Bar # 1010945)
                                       Admitted pro hac vice
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                                       and

                                       WAGAR HICKMAN, LLP

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                                       Attorneys for Plaintiff, Kathleen Moller
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                         CERTIFICATE OF SERVICE

      I do hereby certify that I have on this 17th day of December 2024, served a

copy of the foregoing pleading on counsel for all parties to this proceeding via

electronic mail, facsimile, and/or by U.S. mail, properly addressed with first-class

postage prepaid.


                                             /s/ Michael Cowgill
                                             Michael Cowgill
